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J.K. RANDLE `_

PROFBSSIONAL SBRVICBS
Chznued Awo

 

“X KPMG HOUSE”

One King Olo_gunkutere Street,

Park View, lkoyi, Lagos,

P.O. Box 75429, Victoria |s|and, Lagos.

Te|: 234-1-9085691131 Te|efax: 234-1-8166315170

May 22, 2018 ~ E-mai\: jk'randleintuk@gman.com»
Website: www.jkrand|eandco.co.uk

The Managing Director

Erin Petroleum Nigeria Limited

Camac House

Plot 1649, Olosa Street

Victoria ISland, _

Lagos. .`-\..T:,~,:' " \

Dear Sir,

ERIN PETROLEUM NIGERIA LIMITED §PREVIOUSLY KNOWN AS CAMAC
PETROLEUM LIMITED! - NOTICE OF APPOINTMENT OF RECEIVER Z

MANAGER

We Write to notify you_of our appointment as Receiver / Manager by Zenith Bank Plc (the Bank)
over the Assers of Erin Petroleum Nigeria Limited (In Receivership) pursuant to the terms and
provisions of the registered Deed of Debenture dated November 25, 2014 executed by the
Company in Receivership in favour of the Bank to Secure the outstanding debt of
US$74,128,761.83 (Seventy Four Million, One Hundred and 'Iwenty Eight
Thousand, Seven Hundred and Sixty One Dollars, Eighty Three Cents) and
N1,396,863,358.88 (One Billion, Three Hundred and Ninety Six Million, Eight
Hundred and Sixty Three Thousand, Three Hundred and Fifty Eight Naira, Eighty
Eight Kobo) respectively

As Receiver / Manager over the Assets of Erin Petroleum Nigeria Limited (In Receivership) We
are empowered to take over running of all accounts, be it current, savings, fixed deposit and
other negotiable instruments in the name of the company in receivership and all assets covered
by the Deed of Debenture under reference.

Consequently, We demand full compliance Be Guided.

'{ours faithfully_.
For: J. K. Randle Professional Services

Bashorun . K. n e, FCA; OFR
Chairman / Chief Executive

 

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